Case 1:19-cr-00576-BMC Document 217 Filed 02/12/23 Page 1 of 4 PageID #: 13437




THE LAW FIRM OF                                                            The District

C ÉSAR                  C ASTRO , P.C.
                                                                           111 Fulton Street - 602
                 DE                                                        New York, New York 10038
                                                                           631.460.3951 Office
                                   ATTORNEY AT LAW                         646.285.2077 Mobile
                                                                           646.839.2682 Facsimile
                                                                           cdecastro@cdecastrolaw.com
                                                                           cdecastrolaw.com




February 12, 2023

Via ECF and Email

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Garcia Luna 19 Cr. 576 (BMC)

Dear Judge Cogan,

We submit this letter in response to the government’s February 9, 2023 letter, proffering the
admissibility of twenty-seven exhibits it intends to offer during the testimony of Special Agent
George Dietz. See ECF No. 209. The Court should preclude the admission of twenty-four of
the twenty-seven exhibits. Attached hereto as Exhibit A is a chart explaining the defense’s
stance as to each of the twenty-seven exhibits the government intends to introduce through Mr.
Dietz. Eleven of the exhibits the government is seeking to admit through Mr. Dietz are improper
evidence of Mr. Garcia Luna’s post-2012 wealth, and all but two of the remaining sixteen
exhibits suffer from a deficiency that requires their preclusion.

In its February 9, 2023 letter, the government laid out the remaining twenty-seven exhibits it
plans on seeking to admit through Mr. Dietz on Monday. The government explained that it
would be able to connect various assets to Mr. Garcia Luna through introducing GXs 816 and
816T, an exhibit consisting of the patrimonial statements Mr. Garcia Luna filed while he was a
government employee in Mexico, and that exhibit’s English translation. The defense has no
objection to the admission of GXs 816 and 816T.

According to the government, twenty of the twenty-seven exhibits relate to Mr. Garcia Luna’s
purported wealth and fall into one of the following three categories: (1) residences in Morelos,
Mexico and Mexico City; (2) vehicles; and (3) access to cash and cash expenditures. Of those
twenty exhibits, eleven should be excluded by the Court as they are improper evidence of Mr.
Garcia Luna’s post-2012 wealth. Five of the remaining seven are either cumulative of more
reliable evidence the government has or will offer, cannot satisfy the relevancy requirement of
Case 1:19-cr-00576-BMC Document 217 Filed 02/12/23 Page 2 of 4 PageID #: 13438




Rule 401, or have only minimal probative value which is outweighed by substantial prejudice
their admission would cause Mr. Garcia Luna. We will briefly address each category of exhibits,
and further explain our objection to each exhibit in Exhibit A.

Houses in Morelos and Mexico City

The government seeks to admit additional exhibits that pertain to a residence in Morelos,
Mexico. The government has already entered seventeen pictures of the Morelos house taken in
2009 into evidence through Mr. Dietz, and was precluded from introducing any more as it would
be cumulative. In Exhibit A to its February 9 letter, the government proffers that GXs 1319 and
1320 are admissible because they list the address of the Morelos house and show that Mr. Garcia
Luna was using it in 2018. See ECF No. 209. The address of the Morelos house is contained in
GXs 816 and 816T, and admitting GX 1319 for this purpose is therefore unnecessary and
cumulative. 1 Admitting a birthday invitation and photos from that celebration in 2018 simply to
establish an address that is already in the record is unnecessary and cumulative. To the extent
the government wants to show lavish spending on a birthday party in 2018, such evidence is
precluded without a nexus to cartel money

The government also seeks to admit photographs of a residence in Mexico City, Mexico. Even if
the residence was acquired by Mr. Garcia Luna before he left his position, the photos were taken
well after Mr. Garcia Luna left his position. Any potentially luxurious items in the residence,
such as artwork or a piano, have not been linked by any witness to the pre-2012 period, and as
such are not relevant absent connection.

Vehicles

The next category of evidence consists of six exhibits that relate to vehicles allegedly owned by
Mr. Garcia Luna. According to the government, the vehicles at issue in these six exhibits are all
documented in GXs 816 and 816T, which establishes Mr. Garcia Luna’s ownership of various
vehicles and discusses the methods he used to finance them. The defense is not contesting that
Mr. Garcia Luna owned the vehicles he declared in GXs 816 and 816T. The government has
not, however, admitted or proffered any evidence that establishes that the vehicles depicted in
these six exhibits are in fact the vehicles that were owned by Mr. Garcia Luna and documented
in GXs 816 and 816T.

Cash Expenditures and Cash Businesses

The government moves to admit five exhibits that the government erroneously claims relate to
Mr. Garcia Luna’s cash expenditures and access to cash businesses. Two of these exhibits relate
to Mr. Garcia Luna’s legal ownership of a gun collection, gifted to him by a collector. Even if he
had purchased this collection, which he did not, its total value can hardly exceed a few thousand
dollars – hardly a meaningful sum in the context of the hundreds of millions of dollars he




1
    Notably, GX 816 and 816T lay out how Mr. Garcia was able to afford and finance the Morelos house.


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Case 1:19-cr-00576-BMC Document 217 Filed 02/12/23 Page 3 of 4 PageID #: 13439




allegedly received from the cartel. Their probative value is therefor minimal. On the other hand,
gun ownership is a very polarizing issue in this country, and it may cause jurors to see Mr.
Garcia Luna in a negative light. The prejudicial effect of this evidence therefore substantially
outweighs any minimal probative value it may have.

The remaining two exhibits in this category consist of a photograph of what the government
claims is a restaurant that was owned by Mr. Garcia Luna’s wife during a portion of the charged
time period (GX 1311) and a business card for one of Mr. Garcia Luna’s siblings (GX 1389).
The government proffers that these exhibits are admissible to show that Mr. Garcia Luna had
access to cash businesses. The government has not offered any evidence that these businesses
were used to launder ill begotten gains, or that they were indeed “cash businesses.” In order to
be relevant, the government would have to show that these business operated as fronts with no
legitimate income to allow him to launder ill-gotten cash. There is no evidence that the
businesses were fronts or that there was any incongruity between the success of the business and
claimed income. Absent such evidence, the introduction of these exhibits is simply intended to
cause the jury to improperly speculate. 2

Other Exhibits

In addition to the twenty exhibits contained in the three categories relating to Mr. Garcia Luna’s
purported wealth, in its February 9 letter, the government also proffers the admissibility for
seven additional exhibits it intends to offer through Mr. Dietz which they claim are relevant to
other issues in the case. These exhibits are inadmissible under the Federal Rules of Evidence,
and each specific objection is described in Exhibit A.

                                                 Conclusion

For the foregoing reasons, the defense objects to the admission of the following twenty-four
exhibits through Mr. Dietz GXs 1311, 1316, 1319, 1320, 1328, 1331, 1332, 1336, 1338, 1339,
1354, 1356, 1363, 1364, 1375, 1379, 1389, 1395, 1396, 1397, 1475, 1477, 1562, and 1563.

The defense has no objection to the admission of GXs 1335, 1337, and 1377.

Thank you for your consideration.




2
 To be clear, a business card of Mr. Garcia Luna’s relative from a carwash is in no way related to the carwash
where Oscar Nava Valencia claims to have bribed Mr. Garcia Luna. And in his testimony, Mr. Valencia does not
claim that the carwash was a money laundering operation. Introducing such evidence would be prejudicial to Mr.
Garcia Luna, and would confuse the jury.


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Case 1:19-cr-00576-BMC Document 217 Filed 02/12/23 Page 4 of 4 PageID #: 13440




                                                       Respectfully submitted,

                                                              /s/

                                                       Valerie Gotlib
                                                       César de Castro
                                                       Florian Miedel
                                                       Shannon McManus
                                                       Counsel for Genaro Garcia Luna

Cc: government counsel of record (via ECF and email)




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